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            Exhibit 7
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From:            Driscoll, Robert
To:              Jonathan Ross; Katie Sammons; Laranda Walker; Elizabeth Hadaway; Dominion ListserveSusmanGodfrey
Cc:              Carry, Alfred; Plunkett, Daniel T.
Subject:         Notice of Public Disclosure of Dominion’s Confidential Discovery Material
Date:            Monday, March 11, 2024 6:04:57 PM
Attachments:     pastedImage.png
                 Discovery_PO 2023-12-20 - Signed PO by Lambert.pdf
                 emergency_motion_for_stay.filed.pdf


EXTERNAL Email
Dear counsel,

It has recently come to our attention that Confidential Discovery Material produced by Dominion in
this case has been disclosed in a public filing in Michigan by Stefanie Lambert. Ms. Lambert had
access to Confidential Discovery Material as an attorney for Patrick Byrne who was assisting in this
litigation. Prior to her gaining access to any Confidential Discovery Material, she signed an
Undertaking in which she agreed to use all Discovery Material only as permitted by the Protective
Order. Attached is a copy of her signed Undertaking.

Dominion’s Confidential Discovery Material appears to have been shared with a non-party (i.e.,
Sheriff Dar Leaf of Barry County, Michigan) by Stefanie Lambert and publicly disclosed by her as part
of a filing she made in the criminal case styled People of the State of Michigan vs. Stefanie Lynn
Lambert Junttila, which is currently pending before the Sixth Circuit Court in Oakland County,
Michigan as Case Number 2023-285759-FH. A copy of her court filing captioned “Defendant’s
Emergency Motion for a Stay Pending Interlocutory Appellate Review” is attached. Dominion’s
Confidential Discovery Material is included as an exhibit at pages 12 through 59.

We had no advance knowledge of this use. We only became aware of the public disclosure by virtue
of the below tweet.




See https://x.com/Real_EIF/status/1767198261033554072?s=20 (last visited Mar. 11, 2024).

Consistent with the Protective Order, this email is intended to serve as notice that Dominion’s
Confidential Discovery Material appears to have been used and disclosed by Stefanie Lambert in a
manner that is not authorized by the Protective Order. Her contact information follows below. We
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do not have the contact information for Sheriff Dar Leaf of Barry County, Michigan.

            Stefanie Lambert
            400 Renaissance Ctr., Fl 26
            Detroit, MI 48243
            (313) 410-6872
            attorneylambert@protonmail.com

Please know that we have asked Ms. Lambert to take immediate steps and reasonable efforts to
prevent further disclosure of Confidential Discovery Material.

Sincerely,

Bob Driscoll


 Robert Neil Driscoll
 Attorney at Law

 rdriscoll@mcglinchey.com
 1275 Pennsylvania Avenue NW, Suite 420, Washington, DC 20004
 T (202) 802-9950 F (202) 403-3870

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 Ohio Rhode Island Tennessee Texas Washington Washington, DC




www.mcglinchey.com

McGlinchey Stafford, PLLC in Alabama, Florida, Louisiana, Massachusetts, Mississippi, New York, Ohio, Tennessee, Texas,
Washington, and Washington DC and McGlinchey Stafford, LLP in California.

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                                STATE OF MICHIGAN
                                 6TH CIRCUIT COURT
                               COUNTY OF OAKLAND

PEOPLE OF THE STATE OF
MICHIGAN,

         Plaintiff/Appellee,
   vs.
                                        Lower Court Case No. 2023-285759-FH
                                        Hon. Jeffrey S. Matis



STEFANIE LAMBERT,

         Defendant/Appellant.




                                                                               Document Submitted for Filing to MI Oakland County 6th Circuit Court.
PROSECUTING ATTORNEY                  STEFANIE LAMBERT (P71303)
D.J. Hilson (P57726)                  PRO SE
HALL OF JUSTICE                       400 RENAISSANCE CTR, FL 26
FIFTH FLOOR                           DETROIT, MI
990 Terrace Street                    48243-1502
Muskegon, MI 49442                    (313) 410-6872
(231) 724-6435                        attorneylambert@protonmail.com
hilsonda@co.muskegon.mi.us


    DEFENDANTS EMERGENCY MOTION FOR A STAY PENDING
           INTERLOCUTORY APPELLATE REVIEW

      Now Comes Defendant, Stefanie Lambert, pro se, and hereby submits this

Motion for an Emergency Stay of Proceedings pending appellate review.


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      1.      A motion for bond or a stay pending appeal may not be filed in the

Court of Appeals unless such a motion was decided by the trial court. MCR

7.209(1) and (2).

      2.      Where a trial court incorrectly chooses, interprets or applies the law, it

commits legal error that appellate courts are bound to correct. Bracco v Michigan

Technological University, 231 Mich App 578, 585 (1998), citing Fletcher v

Fletcher, 447 Mich 871, 881 (1994) (Brickley, J., joined by Cavanagh, C.J., and

Boyle, J.).

      3.      The order requiring Defendant to submit to fingerprinting without

probable cause and without having had an independent hearing and determination

of the mandate is unconstitutional and ultra vires of this Court’s power to enforce.




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      4.      The decision ordering Defendant to submit to such process by 5 p.m.

today, March 8, 2024, constitutes significant legal error.

      5.      First and foremost, as explained in Ms. Lambert’s prior motion to

suppress and / or to quash indictment (Exhibit 1), a fundamental principle of

constitutional law is that a defendant cannot be accused of a crime, where such

crime is “created” specifically, and purposefully, for that defendant, and then

sought to be applied to that defendant. See, e.g., Mich Const 1963 Article I, § 10;

U.S. Const., art I, § 10.




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      6.   A law is considered ex post facto if it “(1) seeks to punish an act that

was innocent when the act was committed; (2) makes an act a more serious

criminal offense; (3) increases the punishment for a [committed] crime; or (4)

allows the prosecution to convict on less evidence.” People v Earl, 495 Mich 33,

37; 845 NW2d 721 (2014). See also, People v. Betts, 507 Mich. 527, 542, 968

N.W.2d 497, 504 (2021).

      7.   The prohibitions on ex post facto laws “assure that legislative Acts give

fair warning of their effect and permit individuals to rely on their meaning” as well

as prevent the government from imposing arbitrary and vindictive legislation.

Weaver v Graham, 450 U.S. 24, 28-29; 101 S Ct 960; 67 L Ed 2d 17 (1981).

      8.   If a single judge or prosecutor manipulates a “grand jury” and creates,




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i.e., makes up a criminal law, or, more insidiously, “interprets” an existing criminal

law in an erroneous manner, in a single proceeding targeting specific individuals,

and especially, where that “advocated erroneous interpretation” is advanced by

political opponents of those that are sought to be prosecuted, the manifestation of

tyrannical political assassination through ex post facto application of criminal

statutes twisted to be applied to specific individuals comes to fruition.

      9.   Further, the Fourth Amendment of the United States Constitution, U.S.

Const., amend. IV, as well as the Constitution of the State of Michigan, 1963

Mich. Const. Art. I, § 11, require a prior determination by a detached and


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disinterested magistrate that probable cause exists which includes detentions for

the sole purpose of obtaining fingerprints and obtaining of other evidence.

      10. “[T]he Fourth Amendment’s scope of protection extends beyond the

sphere of criminal investigations. The Amendment guarantees the privacy, dignity,

and security of persons against certain arbitrary and invasive acts by officers of the

government, without regard to whether the government actor is investigating crime

or performing another function.

      11. The Fourth Amendment applies as well when the government acts in its

capacity as an employer. City of Ontario v. Quon, 560 U.S. 746; 130 S. Ct. 2619

(2010).

      12. A grand jury indictment does not automatically entitle the prosecution




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to acquire fingerprints in Michigan and it does not substitute for the independent

assessment required to be made by an unbiased judicial officer. People v. Ware, 12

Mich. App. 512; 163 NW2d 250 (1968).

      13. The Fourth Amendment’s prohibition against unreasonable searches

and seizures generally requires probable cause as a minimum requirement for a

reasonable search People v. Esters, 417 Mich. 34; 331 NW2d 211 (1982), People

v. Thomas, 106 Mich. App. 601; 308 NW2d 170 (1981); Ft. Wayne Mortg. Co. v.

Carletos, 95 Mich. App. 752; 291 NW2d 193 (1980).




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      14. The general rule for obtaining fingerprints for a conviction is that the

fingerprints corresponding to those of the accused must have been found at a crime

scene under such circumstances that they could only have been impressed at the

time when the crime was committed. Ware, supra.

      15. Therefore, a separate probable cause inquiry is required and the return

of an indictment by a grand jury, standing alone, will not establish probable cause

Ft. Wayne Mortg. Co., supra.

      16. Here, the Special Prosecutor now wants to use the fingerprints for

actual comparison to evidence on the tabulators.

      17. That would require a separate probable cause inquiry. He cannot

pretend to be acquiring the fingerprints for one reason and then use them for




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another where such would require a separate and independent probable cause

determination.

      18. As stay is warranted where “(1) the applicant has made a strong

showing that he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially

injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Nken v Holder, 556 US 418, 434; 129 S. Ct. 1749; 173 L. Ed. 2d 550

(2009), quoting Hilton v Braunskill, 481 US 770, 776; 107 S. Ct. 2113; 95 L. Ed.

2d 724 (1987).


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      19. In the instant case, there has been no predicate probable cause hearing,

nor any articulation from the “Special Prosecutor” why or how he intends to use

the fingerprints he seeks to obtain from Defendant. Without this, Defendant has a

nearly 100-percent chance of succeeding on the merits because obtaining physical

fingerprints from an individual who has not been before an independent magistrate

or judge with the benefit of due process and a full probable cause hearing is

unconstitutional per se.

      20. Subjecting Defendant to this procedure will result in irreparable injury

because she will necessarily have surrendered her constitutional rights of due

process and her fundamental constitutional rights, including those under the Fourth

Amendment will have been violated. That cannot be undone.




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      21. Other than the improper purposes for which the Special Prosecutor

seeks the fingerprinting of Defendant, which, again, has not been articulated to a

magistrate or judge in a proper probable cause proceeding, and which is de facto

unconstitutional and erroneous, there is no harm to the prosecutor for having a stay

entered while the constitutional rights of Defendant are vindicated on appeal.

      22. Public interest lies soundly in the principle of not subjecting American

citizens to violations of their rights of personal privacy and security embodied in

the Fourth Amendment, and other constitutional provisions, including Due Process

of Law. There is no doubt that the public interest in protecting American citizens


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from invasive criminal examination without due process and in violation of

fundamental constitutional rights is of primordial importance. This factor weighs

heavily in favor of obtaining a stay.

      23. Defendant has demonstrated that the request to submit to fingerprinting

before this Court without having had any separate and independent probable cause

hearing, where the prosecution seeks the “evidence” for a purpose different than

that which has ever been stated to a jury, magistrate, or judge in such a separate

and independent proceeding is unconstitutional and legal error. Defendant has

further shown to have satisfied the requisite elements for a stay in this court

pending appellate review of the trial court’s erroneous order.

      24. Defendant has also just filed an appearance in this case to represent




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herself, and she currently and has represented since December of 2020 Sheriff Dar

Leaf of Barry County. (Exhibit 1). Sheriff Leaf has been subpoenaed by the

Special Prosecutor to produce files that are protected by attorney-client privilege

and subject to other protections afforded by law. Id.

      25. Defendant is therefore required to file motions to quash said subpoena

in the course of defending herself in these proceedings.

      26. Moreover, Defendant has just retained new counsel in the case that will

not be available to file an appearance until Monday.




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      27. Defendant is required to take over the defense of her case in the

meantime due to having had to relieve her prior attorney of his duties.

       WHEREFORE, based on the statements and arguments presented in this

motion, Appellant respectfully requests that this Court to issue an immediate stay

of all trial court proceedings pending interlocutory review by the Court of Appeals.


                                             Respectfully submitted,

                                             /s/ Stefanie Lambert
                                             STEFANIE LAMBERT (P71303)
                                             PRO SE
                                             400 RENAISSANCE CTR, FL 26
                                             DETROIT, MI
                                             48243-1502
                                             (313) 410-6872
                                             attorneylambert@protonmail.com




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Dated: March 8, 2024




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                        Exhibit 1

          Affidavit of Barry County Sheriff
                       Dar Leaf




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